Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 1 of 27 Page ID #:466




   1   Mathew K. Higbee, Esq. SBN 241380
       Ryan E. Carreon, Esq., SBN 311668
   2   HIGBEE & ASSOCIATES
       1504 Brookhollow Dr., Suite 112
   3   Santa Ana, CA 92705
       (714) 617-8336
   4   (714) 597-6559 facsimile
       mhigbee@higbeeassociates.com
   5   rcarreon@higbeeassociates.com
   6   Attorney for Plaintiff,
       MICHAEL GRECCO PRODUCTIONS, INC.,
   7
   8                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
   9
       MICHAEL GRECCO PRODUCTIONS,               Case No. 2:19-cv-04776-DSF-JC
  10   INC. d/b/a MICHAEL GRECCO
       PHOTOGRAPHY, INC.,                        DECLARATION OF MICHAEL
  11                                             GRECCO
                              Plaintiff,
  12
       v.
  13
       ZIFF DAVIS, LLC; and DOES 1
  14   through 10 inclusive,
  15
                          Defendant.
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                           DECLARATION OF MICHAEL GRECCO
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 2 of 27 Page ID #:467



   1                       DECLARATION OF MICHAEL GRECCO
   2   I, Michael Grecco, declare as follows:
   3         1.       I am over the age of 18 years old. I have personal knowledge of all
   4   matters stated herein, and if called as a witness, I could and would competently testify
   5   thereto.
   6         2.       I am the owner of Plaintiff Michael Grecco Productions, I c. ( MGP ).
   7         3.       In 2018, MGP was looking for counsel to represent it on various
   8   copyright infringement matters.
   9         4.       On March 27, 2018, MGP employee Tornia Yamada sent an email to
  10   attorney Yifat Hassid Ruttenberg, he         ife f Ziff Da i     c   e    c     e G
  11   Ruttenberg, inquiring as to whether she might know of an attorney who would be
  12   interested in representing MGP on copyright infringement matters.
  13         5.       M . Ya ada     e ai contained confidential information concerning
  14   MGP copyright enforcement strategy, including information with respect to its use
  15   of reverse image search technologies such as ImageRights, and confidential financial
  16   i f    ai      e a ed   MGP valuation of copyright litigation claims.
  17         6.       Yifat Hassid Ruttenberg e      ded     Ma ch 28, 2018 a i g ha G
  18   d e         e IP        a d ha he        d   ea     i h hi     ee if he   igh          f
  19   someone who would be interested in the representation.
  20         7.       The email containing the confidential information was subsequently
  21   forwarded directly to Guy Ruttenberg.
  22         8.       On April 10, 2018, Ms. Yamada sent a follow up email to see if Guy
  23   Ruttenberg would be willing to get on a call with me to discuss whether he would be
  24   interested in the potential representation of MGP on copyright matters.
  25         9.       That same day, Yifat Hassid Ruttenberg emailed Guy Ruttenberg
  26   directly to see if he knew of anyone who could help with the matter and copied Ms.
  27   Yamada.
  28
                                             1
                               DECLARATION OF MICHAEL GRECCO
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 3 of 27 Page ID #:468



   1            10.   Attached hereto as Exhibit A is a true and correct copy of the email
   2   correspondence containing the confidential information, which was forwarded
   3   directly to Guy Ruttenberg.
   4            11.   On April 12, 2018 an attorney from Ruttenberg IP law, Bassil Madanat,
   5   sent an email to Ms. Yamada and copied Guy Ruttenberg and another employee, Jean
   6   Lee.
   7            12.   In the email, Mr. Madanat stated that Guy Ruttenberg had forwarded
   8   hi     M . Ya ada       e ai , a d e     e ed ha I a d M . Ya ada ge         a ca    ih
   9   him.
  10            13.   I understood the purpose of the phone call to be a consultation with
  11   Ruttenberg IP Law to determine whether Ruttenberg IP Law would be willing to
  12   represent MGP in copyright infringement matters.
  13            14.   The next day, on April 13, 2018, myself, Ms. Yamada, and Mr. Madanat
  14   spoke on the telephone.
  15            15.   During the course of the telephone call with Mr. Madanat, I candidly
  16   di c     ed c fide ia i f         ai       c    ce i g MGP      c     igh e f ce e
  17   practices, including c     fide ia i f         ai   ega di g MGP    use of reverse image
  18   search technology, and confidential financial information regarding MGP
  19   copyright infringement matters.
  20            16.   On April 17, 2018, Mr. Madanat sent an email to Ms. Yamada and
  21          e f, a d c ied     G   R   e be g, a i g ha       Guy is in and out of the office
  22   this week, but is up to speed on our conversation from Friday.
  23            17.   Attached hereto as Exhibit B is a true and correct copy of the email
  24   correspondence.
  25            18.   On April 24, 2018, Yifat Hassid Ruttenberg sent an email to Guy
  26   Ruttenberg and Ms. Yamada following up to see if Guy Ruttenberg had been able to
  27   connect regarding the potential representation of MGP.
  28
                                              2
                                DECLARATION OF MICHAEL GRECCO
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 4 of 27 Page ID #:469



   1           19.     Ms. Yamada responded stating that we had spoken to Mr. Madanat
   2   previously a d ha he took down notes about what we are looking for and he said
   3   he d e a e he          bac     [G ].
   4           20.     Attached hereto as Exhibit C is a true and correct copy of the email
   5   correspondence.
   6           21.     Ultimately, MGP did not retain Ruttenberg IP Law.
   7           22.     During the course of discovery in this matter, Ziff Davis has sought
   8   i f     ai      c      ce i g MGP      eai    hi      i h I ageRigh      I e ai     a , I c.,
   9   MGP           ac ice     i h e e e i age ea ch, a d MGP             he c      igh i iga i
  10   matters.
  11           23.     On May 28, 2021, Ziff Davis served a 30(b)(6) deposition notice, as
  12   well as deposition notices for myself and Ms. Yamada.
  13           24.     Attached hereto as Exhibit D is a true and correct copy of the 30(b)(6)
  14   deposition notice served by Ziff Davis.
  15           25.     T ic 2, 3, 8, a d 9 ha e     d      i h MGP       e f e e e i age ea ch
  16    ech       g , a d T ic 9 ha            d    i h MGP        eai     hi     i h I ageRigh
  17   International, Inc.
  18           26.     These are directly related to the confidential matters that were
  19   previously disclosed by MGP to Ruttenberg IP Law in 2018.
  20           27.     While preparing for the deposition, I became aware of the email
  21   correspondence set forth above and realized that the Ruttenberg IP Law that was
  22   counsel for Ziff Davis was the same firm that MGP had previously consulted with in
  23   2018.
  24           28.     I believe that the confidential information MGP disclosed to Ruttenberg
  25   IP Law is directly material to the issues currently being litigated between MGP and
  26   Ziff Davis, a d ha R          e be g IP La       i r receipt of this confidential information
  27   could be used By Ziff Davis and/or Ruttenberg IP Law to gain an unfair advantage
  28   in the litigation.

                                                  3
                                    DECLARATION OF MICHAEL GRECCO
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 5 of 27 Page ID #:470



   1         I certify under penalty of perjury under the laws of the United States that the
   2   foregoing is true and correct.
   3         Executed on June 25, 2021 at Los Angele, California.
   4
   5
   6
                                                    _________________
   7
                                                      Michael Grecco
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                             DECLARATION OF MICHAEL GRECCO
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 6 of 27 Page ID #:471




                     Exhibit “A”
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 7 of 27 Page ID #:472


  From:    Torina Yamada studio@michaelgrecco.com
Subject:   Re: Torina (Infringement)
   Date:   April 10, 2018 at 1:42 PM
     To:   yhassid@hassidlaw.com, guy@ruttenbergiplaw.com

       Oh my Gosh! I am more than excited!!!!!!!!!!!

       I know it's hectic, and although I'd love to come to the hospital, just let me know when I can come visit. I know today is too much!

       I'll be praying for a fast and safe delivery. You're awesome Yifat (and Guy), get ready for a new type of love to hit you!

       I love you soo much, well, all of you! Congrats, congrats, congrats!

       Kindly,
       Torina


       Torina Yamada
       Studio Manager
       O: 310-452-4461
       C: 310-913-4021 <tel:310-452-4461>
       michaelgrecco.com <http://michaelgrecco.com/>
       LÜRZER'S ARCHIVE 200 BEST PHOTOGRAPHERS 2014/2015
       "I go out every day with the intention of breaking visual rules,
       to create an evocative, cinematic image that inspires" - Michael Grecco
       On 4/10/18, 1:38 PM, "yhassid@hassidlaw.com" <yhassid@hassidlaw.com> wrote:

           Hi! We're at Cedars trying to get the little muffin out of the oven!

           Guy- do you know anybody who can help Michael in this matter?


           On 2018-04-10 12:47, Torina Yamada wrote:
           Hi, I wanted to check in with you on this!

           Do you think Guy would take a phone call with Michael next week?

           He’s really eager, and so am I, to get them connected.

           Hope you’re well and of course my little muffin!

           Let me know if you need anything.

           Kindly,

           Torina

           TORINA YAMADA

           Studio Manager

           O: 310-452-4461

           C: 310-913-4021 [1]

           michaelgrecco.com [2]

           LÜRZER'S ARCHIVE 200 BEST PHOTOGRAPHERS 2014/2015

           _"I GO OUT EVERY DAY WITH THE INTENTION OF BREAKING VISUAL RULES,_

           _TO CREATE AN EVOCATIVE, CINEMATIC IMAGE THAT INSPIRES"_ - Michael
           Grecco

           FROM: Yifat Hassid Ruttenberg <yhassid@hassidlaw.com>
           DATE: Wednesday, March 28, 2018 at 12:41 PM
           TO: Studio Manager <studio@MichaelGrecco.com>
           SUBJECT: RE: Torina (Infringement)

           Got it!
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 8 of 27 Page ID #:473


     ;)

     FROM: Torina Yamada [mailto:studio@MichaelGrecco.com]
     SENT: Wednesday, March 28, 2018 12:30 PM
     TO: Yifat Hassid Ruttenberg <yhassid@hassidlaw.com>
     SUBJECT: Re: Torina (Infringement)

     Awesome, thank you!!!                                             l
                                         . Again, thank you!!!!

     Get Outlook for iOS [3]

     FROM: Yifat Hassid Ruttenberg <yhassid@hassidlaw.com>
     SENT: Wednesday, March 28, 2018 12:18:45 PM
     TO: Torina Yamada
     SUBJECT: RE: Torina (Infringement)

     Guy does some IP work, he’s going to ask around and see if he knows
     anybody who can help out with this. : )

     FROM: Torina Yamada [mailto:studio@MichaelGrecco.com]
     SENT: Tuesday, March 27, 2018 3:28 PM
     TO: yhassid@hassidlaw.com
     SUBJECT: Torina (Infringement)

     Hi my dear!




                                                                           ;
                                                                           ;




                                                                           r




                                                                               ,


     That’s pretty much the gist, let me know if you need more info.

     Like always, thank you and I love you very much!

     Kindly,

     Torina

     TORINA YAMADA

     Studio Manager

     O: 310-452-4461

     C: 310-913-4021 [1]

     michaelgrecco.com [2]

     LÜRZER'S ARCHIVE 200 BEST PHOTOGRAPHERS 2014/2015

     _"I GO OUT EVERY DAY WITH THE INTENTION OF BREAKING VISUAL RULES,_

     _TO CREATE AN EVOCATIVE, CINEMATIC IMAGE THAT INSPIRES"_ - Michael
     Grecco
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 9 of 27 Page ID #:474


     Links:
     ------
     [1] tel:310-452-4461
     [2] http://michaelgrecco.com/
     [3] https://aka.ms/o0ukef
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 10 of 27 Page ID #:475




                     Exhibit “B”
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 11 of 27 Page ID #:476


  From:    Torina Yamada studio@MichaelGrecco.com
Subject:   Re: Micheal Grecco
   Date:   April 17, 2018 at 3:37 PM
     To:   Bassil Madanat Bassil@ruttenbergiplaw.com, Michael Grecco Michael@MichaelGrecco.com
    Cc:    Guy Ruttenberg guy@ruttenbergiplaw.com, Jean Lee jean@ruttenbergiplaw.com

       Thanks Bassil, I’ll be seeing Guy tomorrow, but yes, we do look forward to a call with all of us, in the next couple of days!

       From: Bassil Madanat <Bassil@ruttenbergiplaw.com>
       Sent: Tuesday, April 17, 2018 3:33:52 PM
       To: Michael Grecco; Torina Yamada
       Cc: Guy Ruttenberg; Jean Lee
       Subject: RE: Micheal Grecco
       Hi Michael/Torina:

       Guy is in and out of the office this week, but is up to speed on our conversation from
       Friday and will get in touch with you within the next couple of days.

       Hope you’re both having a nice week!

       Bassil Madanat

       From: Bassil Madanat
       Sent: Friday, April 13, 2018 10:54 AM
       To: 'Torina Yamada' <studio@MichaelGrecco.com>
       Cc: Michael Grecco <Michael@MichaelGrecco.com>; Guy Ruttenberg
       <Guy@ruttenbergiplaw.com>; Jean Lee <jean@ruttenbergiplaw.com>
       Subject: RE: Micheal Grecco

       Excellent. Talk soon!

       Bassil

       From: Torina Yamada [mailto:studio@MichaelGrecco.com]
       Sent: Friday, April 13, 2018 10:48 AM
       To: Bassil Madanat <Bassil@ruttenbergiplaw.com>
       Cc: Michael Grecco <Michael@MichaelGrecco.com>; Guy Ruttenberg
       <Guy@ruttenbergiplaw.com>; Jean Lee <jean@ruttenbergiplaw.com>
       Subject: Re: Micheal Grecco

       Morning Bassil,
       Best number to reach us at is 310-452-4461.

       Looking forward to the call!

       Kindly,
       Torina
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 12 of 27 Page ID #:477




    Torina Yamada
    Studio Manager
    O: 310-452-4461
    C: 310-913-4021
    michaelgrecco.com
    LÜRZER'S ARCHIVE 200 BEST PHOTOGRAPHERS 2014/2015
    "I go out every day with the intention of breaking visual rules,
    to create an evocative, cinematic image that inspires" - Michael Grecco
    From: Bassil Madanat <Bassil@ruttenbergiplaw.com>
    Date: Friday, April 13, 2018 at 7:01 AM
    To: Studio Manager <studio@MichaelGrecco.com>
    Cc: Michael Grecco <Michael@MichaelGrecco.com>, Guy Ruttenberg
    <Guy@ruttenbergiplaw.com>, Jean Lee <jean@ruttenbergiplaw.com>
    Subject: Re: Micheal Grecco

    Thanks. 4pm today works for me. Is there a specific number you’d like me to call?

    Bassil

    Sent from my iPhone

    On Apr 12, 2018, at 7:35 PM, Torina Yamada <studio@MichaelGrecco.com> wrote:

         Good evening Bassil,

         Thank you for jump starting this process. Michael and I have availability
         tomorrow at 4pm, if that works for you?

         If not, he can also jump on a call Monday at 2:15pm, please let me know which
         works best for you.

         Thanks!


         From: Bassil Madanat <Bassil@ruttenbergiplaw.com>
         Sent: Thursday, April 12, 2018 6:24:41 PM
         To: Torina Yamada
         Cc: Guy Ruttenberg; Jean Lee
         Subject: FW: Micheal Grecco

         Dear Ms. Yamada:

         My name is Bassil Madanat. I am an Associate working with Guy
         Ruttenberg, and he forwarded me your message below. (We are just as
         excited about the baby!) I am generally available for a call tomorrow (Friday)
         if that works for you/Mr. Grecco. Please let me know your availability, and we
         can go from there.
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 13 of 27 Page ID #:478

         can go from there.

         Thanks, and have a great evening.

         Bassil G. Madanat
         Associate Attorney
         Ruttenberg IP Law, A Professional Corporation
         _________________________________________
         1801 Century Park East, Suite 1920
         Los Angeles, CA 90067
         Main Line: (310) 627-2270
         Direct Line: (310) 627-2277
         Facsimile: (310) 627-2260
         Email: bassil@ruttenbergiplaw.com
         www.ruttenbergiplaw.com

         NOTICE: The information contained in this e-mail and any accompanying documents is
         confidential, may be privileged, and is intended solely for the person and/or entity to whom it is
         addressed (i.e. those identified in the "To" and "cc" box). This information is the property of
         Ruttenberg IP Law, A Professional Corporation. Unauthorized review, use, disclosure, or copying
         of this communication, or any part thereof, is strictly prohibited and may be unlawful. If you have
         received this e-mail in error, please return the e-mail and attachments to the sender and delete
         the e-mail and attachments and any copy from your system.



         Begin forwarded message:

                From: Torina Yamada <studio@MichaelGrecco.com>
                Date: April 12, 2018 at 10:12:20 AM PDT
                To: "guy@ruttenbergiplaw.com" <guy@ruttenbergiplaw.com>
                Subject: Micheal Grecco

                Good morning Guy,
                Mazel tov on your and Yifat’s bundle of joy. I can’t wait to meet
                him…

                I’m so excited!

                On that note, my boss Michael Grecco is eager to get on a call
                with you about his needs. I know you’re really busy right now, so
                if you have a partner or associate you’d like to take the call for
                you, that’d be great too.
                Please let me know, thank you!


                Kindly,
                Torina

                <image001.png>
                Torina Yamada
                Studio Manager
                O: 310-452-4461
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 14 of 27 Page ID #:479


               O: 310-452-4461
               C: 310-913-4021
               michaelgrecco.com
               LÜRZER'S ARCHIVE 200 BEST
               PHOTOGRAPHERS 2014/2015
               "I go out every day with the intention of breaking visual
               rules,
               to create an evocative, cinematic image that inspires" -
               Michael Grecco
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 15 of 27 Page ID #:480




                     Exhibit “C”
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 16 of 27 Page ID #:481


  From:    Torina Yamada studio@MichaelGrecco.com
Subject:   Re: Torina (Infringement)
   Date:   April 24, 2018 at 4:01 PM
     To:   Yifat Hassid Ruttenberg yhassid@hassidlaw.com
    Cc:    guy@ruttenbergiplaw.com

       Yifat, we spoke to Bassil in Guy’s office already. We actually need to have a follow up call. Guy, when you have time we’d love to chat
       with you. Bassil took down notes about what we are looking for and he said he’d relate them back to you.

       Thanks Yifat!!!! Can’t wait for tomorrow!

       Get Outlook for iOS

       From: Yifat Hassid Ruttenberg <yhassid@hassidlaw.com>
       Sent: Tuesday, April 24, 2018 3:57:59 PM
       To: Torina Yamada
       Cc: guy@ruttenbergiplaw.com
       Subject: RE: Torina (Infringement)
       Guy, are you able to connect Michael with anybody for this?

       From: Torina Yamada [mailto:studio@MichaelGrecco.com]
       Sent: Tuesday, April 10, 2018 12:48 PM
       To: Yifat Hassid Ruttenberg <yhassid@hassidlaw.com>
       Subject: Re: Torina (Infringement)

       Hi, I wanted to check in with you on this!

       Do you think Guy would take a phone call with Michael next week?

       He’s really eager, and so am I, to get them connected.

       Hope you’re well and of course my little muffin!

       Let me know if you need anything.

       Kindly,
       Torina




       Torina Yamada
       Studio Manager
       O: 310-452-4461
       C: 310-913-4021
       michaelgrecco.com
       LÜRZER'S ARCHIVE 200 BEST PHOTOGRAPHERS 2014/2015
       "I go out every day with the intention of breaking visual rules,
       to create an evocative, cinematic image that inspires" - Michael Grecco
       From: Yifat Hassid Ruttenberg <yhassid@hassidlaw.com>
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 17 of 27 Page ID #:482

    From: Yifat Hassid Ruttenberg <yhassid@hassidlaw.com>
    Date: Wednesday, March 28, 2018 at 12:41 PM
    To: Studio Manager <studio@MichaelGrecco.com>
    Subject: RE: Torina (Infringement)

    Got it!
    ;)

    From: Torina Yamada [mailto:studio@MichaelGrecco.com]
    Sent: Wednesday, March 28, 2018 12:30 PM
    To: Yifat Hassid Ruttenberg <yhassid@hassidlaw.com>
    Subject: Re: Torina (Infringement)

    Awesome, thank you!!!
                     Again, thank you!!!!

    Get Outlook for iOS
    From: Yifat Hassid Ruttenberg <yhassid@hassidlaw.com>
    Sent: Wednesday, March 28, 2018 12:18:45 PM
    To: Torina Yamada
    Subject: RE: Torina (Infringement)

    Guy does some IP work, he’s going to ask around and see if he knows anybody who can
    help out with this. : )

    From: Torina Yamada [mailto:studio@MichaelGrecco.com]
    Sent: Tuesday, March 27, 2018 3:28 PM
    To: yhassid@hassidlaw.com
    Subject: Torina (Infringement)

    Hi my dear!




    That’s pretty much the gist, let me know if you need more info.

    Like always, thank you and I love you very much!

    Kindly,
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 18 of 27 Page ID #:483

    Kindly,
    Torina




    Torina Yamada
    Studio Manager
    O: 310-452-4461
    C: 310-913-4021
    michaelgrecco.com
    LÜRZER'S ARCHIVE 200 BEST PHOTOGRAPHERS 2014/2015
    "I go out every day with the intention of breaking visual rules,
    to create an evocative, cinematic image that inspires" - Michael Grecco
Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 19 of 27 Page ID #:484




                     Exhibit “D”
 Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 20 of 27 Page ID #:485



 1   Guy Ruttenberg, Bar No. 207937
     guy@ruttenbergiplaw.com
 2   Michael Eshaghian, Bar No. 300869
     mike@ruttenbergiplaw.com
 3   RUTTENBERG IP LAW,
 4   A PROFESSIONAL CORPORATION
     1801 Century Park East, Suite 1920
 5   Los Angeles, CA 90067
     Telephone: (310) 627-2270
 6   Facsimile: (310) 627-2260
 7
 8   Attorneys for Defendant Ziff Davis, LLC
 9
10                    UNITED STATES DISTRICT COURT
11             FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13
14   MICHAEL GRECCO PRODUCTIONS, Case No. 2:19-cv-04776-DSF-JC
     INC. d/b/a MICHAEL GRECCO
15   PHOTOGRAPHY, INC.,          DEFENDANT ZIFF DAVIS, LLC S
16                   Plaintiff,  NOTICE OF DEPOSITION OF
                                 PLAINTIFF MICHAEL GRECCO
17
           v.                    PRODUCTIONS, INC. d/b/a
18                               MICHAEL GRECCO
     ZIFF DAVIS, LLC; and DOES 1 PHOTOGRAPHY, INC.
19   through 10 inclusive,
                                 PURSUANT TO RULE 30(b)(6)
20                   Defendants.
21                                             Judge:   Hon. Dale S. Fischer
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                NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6)
 Case 2:19-cv-04776-DSF-JC Document 62-2 Filed 06/28/21 Page 21 of 27 Page ID #:486



 1          PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure
 2   30(b)(6), Defe da      Z ff Da       , LLC ( Z ff Da          Defe da       ), by and through
 3   its undersigned counsel, will take the deposition of Plaintiff Michael Grecco
 4   P d c       , I c. d/b/a M c ae G ecc P                a   , I c. ( G ecc       Pa     ff ) at
 5   9:00 a.m., on July 1, 2021, at the offices of Ruttenberg IP Law, A Professional
 6   Corporation, 1801 Century Park East, Suite 1920, Los Angeles, CA 90067, or at
 7   another mutually agreed date and location, including an agreed-upon remote location.
 8   The deposition will be taken before an officer authorized to administer oaths and will
 9   continue day-to-day until it is completed or will be continued until completed at a
10   future date or dates. Plaintiff is hereby requested to designate one or more of its
11   officers, directors, agents, or other persons authorized to testify on its behalf regarding
12   the topics set forth below.
13          PLEASE TAKE FURTHER NOTICE that, pursuant to Rule 30(b)(3) of the
14   Federal Rules of Civil Procedure, the deposition(s) will be recorded by stenographic
15   and audiovisual means, and may utilize instant visual display of the testimony.
16          PLEASE TAKE FURTHER NOTICE that we reserve the right to conduct this
17   deposition utilizing a paperless exhibit display process called Exhibit Share provided
18   and supported by Veritext Legal Solutions. The parties are advised that one paper set
19    f e    b         be          ed a     e de            f    e c       e     e          e    f
20   compiling, exhibit stamping, and ultimate production of the final certified transcript.
21   However, no other paper copies will be provided as they will be available for visual
22   display using Exhibit Share. Please contact the noticing attorney at least five (5)
23   calendar days prior to the deposition to advise that it is your desire to be set up for
24   Exhibit Share access so that the necessary credentials, testing and information, if
25   necessary, can be provided to you prior to the proceedings. For information and
26   available tutorial videos demonstrating Exhibit Share, please utilize this link to access
27   additional information:
28          https://www.veritext.com/services/exhibitshare.
                                     1              2:19-cv-04776-DSF-JC
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 1         PLEASE TAKE FURTHER NOTICE that we reserve the right to conduct this
 2   deposition utilizing the secure web-based deposition option afforded by Veritext or in
 3   the alternative video teleconferencing (VTC) services or telephonically only to provide
 4   remote/virtual access for those parties wishing to participate in the deposition via the
 5   internet and/or telephone. Also take notice that, the court reporter may also be remote
 6   via one of the options above for the purposes of reporting the proceeding and may or
 7   may not be in the presence of the deponent. Please contact the noticing attorney at
 8   least five (5) calendar days prior to the deposition to advise that it is your desire to
 9   appear via this remote participating means so that the necessary credentials, call-in
10   numbers, testing and information, if necessary, can be provided to you prior to the
11   proceedings. In addition, we also reserve the right to utilize instant visual display
12   ec            c       a   ec      e    e                 f   e       ceed        be d    a ed
13         a e             e          f a e          e    a       , Pad, ab e           e     e f
14   display device connected to the court reporter.
15
16                                   DEPOSITION TOPICS
17   TOPIC NO. 1:
18         The factual basis supporting Your contention that                [ ]   to discovering
19   Defe da           a       ed   e f     e I a e , MGP         a         a a e f Defe da
20   Defe da      Web e ,           ad e e bee a a e f a              f           a    be      ed
21   b Defe da             a    f Defe da       Web e .
22   TOPIC NO. 2:
23         How and when You started using reverse image searching (i) in general and (ii)
24   to search for potential copyright infringers.
25   TOPIC NO. 3:
26         Your knowledge and use of reverse image search technology, including the dates
27   of such knowledge.
28
                                     2              2:19-cv-04776-DSF-JC
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 1   TOPIC NO. 4:
 2           How and when You learned of the Ziff Davis websites identified in Your
 3   Complaint, including www.askmen.com and www.ign.com.
 4   TOPIC NO. 5:
 5           How and when You d c e ed          eI a e         Z ff Da      eb e , and what
 6   led You to search for them.
 7   TOPIC NO. 6:
 8           Any instances where You asserted, or threatened to assert, claims for copyright
 9   infringement with respect to the Asserted Copyrights.
10   TOPIC NO. 7:
11           Any instances in which You searched for and/or located the Images on any
12     eb e bef e Y         d c e ed    eI a e       Z ff Da        eb e , before November
13   2018.
14   TOPIC NO. 8:
15           Any instances in which You asserted, or threatened to assert, a claim for
16   copyright infringement based in images located via reverse image searching before
17   May 31, 2016. (For clarification, the date restriction qualifies the date on which You
18   located the images).
19   TOPIC NO. 9:
20           Your involvement with titancopyright.com and imagedefenders.com, including
21   any engagement of and communications with ImageRights before November 30, 2018.
22   TOPIC NO. 10:
23           The identity, authenticity, creation, and source of documents produced by You
24   in this litigation.
25                                       DEFINITIONS
26           The following definitions apply to each of the topics above.
27           1.    T e e       you      your   efe    Pa       ff Michael Grecco Productions,
28   Inc. d/b/a Michael Grecco Photography, Inc.
                                      3              2:19-cv-04776-DSF-JC
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 1         2.     T e e       I a e       efe         e       a e de c bed         aa a       13-15 of
 2   Your First Amended Complaint.
 3         3.     T e e       Asserted Copyrights         efe        VA 1-232-596 and VA 2-030-
 4   741 as referenced in paragraph 15 of Your First Amended Complaint.
 5         4.     T e e        d c    e         d c       e          ea     e       a    f(   ab e ce
 6   of the original, then a copy thereof) and all file copies and copies not identical to the
 7   original of any writing or record of every type, form or description that is in YOUR
 8   possession, custody or control, or which no longer is in YOUR possession but of which
 9   YOU still have knowledge, whether or not said writings or records are claimed to be
10   privileged or otherwise immune from discovery, including the following items: notes,
11   correspondence, communication of any nature, telegrams, e-mail messages, cables,
12   memoranda, notebooks of any nature, summaries or records of telephone conversations
13   or personal interviews, diaries, routing slips or memoranda, reports (including tests and
14   analysis reports), publications, invoices, specifications, shipping papers, purchase
15   orders, shop instrument output, plans, patterns, drawings, photographs of any nature,
16   including photomicrographs, whether by scanning electron microscope or any other
17   means, artist drawings, sketches, blueprints, minutes or records of meetings,
18   transcripts, oral testimony or statements, reports and/or summaries of interviews,
19   reports and/or summaries of investigation, opinions or reports of consultants, forecasts,
20   reports of trademark and/or patent searches, trademark and/or patent appraisals,
21   opinions of counsel, agreements and contracts (including all modifications or revisions
22   thereof), reports and/or summaries of negotiations, court papers, labels, tags, plaques,
23   flyers, countercards, brochures, pamphlets, advertisements, advertising layouts,
24   circulars, trade letters, press releases, and translations, whether said writings or records
25   are on paper, magnetic tape, microfilm, fiche or any other storage or recording medium.
26         5.     T e e        d c    e         d c       e      a        c de a   d c    e        c
27   did exist, but as to the date of response of production have been destroyed, lost,
28   misplaced or is otherwise unavailable. For any such document, the response must
                                     4              2:19-cv-04776-DSF-JC
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 1   identify the document by date, subject matter, author, addressee, and persons to whom
 2   the document was distributed, must state whether the document was lost, destroyed or
 3   misplaced; and must state the name and address of the person who last had custody of
 4   or knowledge of the existence of the document.
 5            6.       T e e         ea            ,    e a ed ,               e ad       , a d c         ce            ,       a
 6   mean,         without     limitation,     constituting,       comprising,            describing,             explaining,
 7   summarizing, being logically connected to, being chronologically connected to, or
 8   mentioning, whether directly or indirectly.
 9            7.       T e     e         PERSON           ea           a             d   d a, f           ,       a     e           ,
10   corporation, association, or any other organization or entity.
11            8.       T e e       da e         da e      eans the exact date, month and year or, if not
12   ascertainable, the best approximation thereof.
13            9.       T e e          a d a d                  a       be c              ed e       e d            c        e
14   conjunctively, as necessary, to bring within the scope of the discovery request all
15   responses that might otherwise be construed to be outside of such scope.
16            10.      T e e        eac        a       c de    e               d e e      a d e e                 a         c de
17     e         d eac .
18            11.      T e e         a         a       c de        e           d a , a d a                a           c de          e
19         d a .
20            12.      T e     e             c de ,        c d             ,              c     a             a        be       ed
21         e c        e    ( .e.     ea        c d                               a       ...          c d              ,b
22         ed       . . . ).
23            13.      The use of the singular form of any word includes the plural and vice
24   versa.
25            14.      The present tense includes the past and future tenses.
26            15.      Words in the masculine, feminine or neutral form shall include each of
27   the other genders.
28
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 1   DATED: May 28, 2021          By:   /s/ Michael Eshaghian
                                        Guy Ruttenberg
 2                                      Michael Eshaghian
 3                                      RUTTENBERG IP LAW, A
                                        PROFESSIONAL CORPORATION
 4                                      1801 Century Park East, Suite 1920
                                        Los Angeles, CA 90067
 5                                      Telephone: (310) 627-2270
 6                                      Facsimile: (310) 627-2260
                                        guy@ruttenbergiplaw.com
 7                                      mike@ruttenbergiplaw.com
 8                                      Attorneys for Defendant
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 1                                       PROOF OF SERVICE
           I, the undersigned, declare that I am over the age of 18 years, employed in the
 2
     County of Los Angeles, State of California, and not a party to the above-entitled
 3
     cause. On May 28, 2021, I caused to be served the foregoing document on the
 4
     interested parties in this action as set forth below:
 5
 6   DEFENDANT ZIFF DAVIS, LLC S NOTICE OF DEPOSITION OF
     PLAINTIFF MICHAEL GRECCO PRODUCTIONS, INC. d/b/a MICHAEL
 7   GRECCO PHOTOGRAPHY, INC. PURSUANT TO RULE 30(b)(6)
 8
 9                    Via Email
10    Mathew K. Higbee
      Ryan E. Carreon
11    HIGBEE & ASSOCIATES                                    Attorneys for Plaintiff,
      1504 Brookhollow Dr., Suite 112                        Michael Grecco Productions, Inc
12    Santa Ana, CA 92705
      (714) 617-8336
13    (714) 597-6559 facsimile
14    mhigbee@higbeeassociates.com
      rcarreon@higbeeassociates.com
15
16         I declare under penalty of perjury under the laws of the State of California and

17   the United States of America that the forgoing is true and correct.

18         Executed on May 28, 2021, in Los Angeles, California.

19
                                           By:                 /s/ Michael Eshaghian
20                                                            Michael Eshaghian
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27
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                                            1                          2:19-cv-04776-DSF-JC
                                      PROOF OF SERVICE
